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Attorneys for Defendant
IAN BENJAMIN ROGERS

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

UNITED STATES OF AMERICA, ) Case No. 21-CR-00274-CRB
)
Plaintiff, )

) Exhibit A

VS. )
)
IAN BENJAMIN ROGERS, )
)
Defendant.
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